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                  EXHIBIT 16
        Case 2:19-cr-00120-MEF Document 500-18 Filed 08/03/23 Page 2 of 2 PageID: 25073

   From:           Schwartz, Steven (Cognizant) <sschwartz@cognizant.com>
   Sent:           Wednesday, April 23, 2014 7:33 PM
   To:             Papera, Steven (Cognizant) <steven.papera@cognizant.com>
   Subject:        Re: Mets - Cards


   Yep. Good game for my boys (Cards fans).

   Steven E. Schwartz
   Executive Vice President
   Chief Legal and Corporate Affairs Officer
   Cognizant Technology Solutions
   Glenpointe Centre West
   500 Frank W. Burr Blvd.
   Teaneck, New Jersey 07 666
   P - 201-678-2759
   F - 201-801-0243

   On Apr 23, 2014, at 12:27 PM, "Papera, Steven (Cognizant)" <Steven.Papera@cognizant.com> wrote:

         Pretty sure I saw you featured on quite a bit of the SNY broadcast last night. That was you behind
         home plate, right?




FOIA Confidential Treatment Requested                                                                     CTS-0010832
